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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF SOUTH CAROLINA
                                    COLUMBIA DIVISION


    Twanda Marshinda Brown, et al.,

                           Plaintiffs,                                  Civil Action No.
                                                                      3:17-cv-01426-SAL
           v.

    Lexington County, South Carolina, et al.,

                           Defendants.


                   PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION
                     TO REFER TO CERTAIN MEDIATION EVENTS


          Plaintiffs’ position on Lexington County’s motion “to refer to certain events that occurred

during the two mediations in this case,” ECF No. 351 at 1, depends entirely on information not

included in the County’s motion. For example, the County fails to explain to which “specific

correspondence[s] and events” it would like to refer, for what purpose they should be introduced,

and what “other things” it would file. Id. at 2. For this reason, as the County acknowledges,

Plaintiffs cannot consent to such unlimited relief. Id. Because they don’t know whether the

County intends to offer a narrow and generalized explanation for its refusal to engage in

mediation from 2018–2020, or whether it intends to open a Pandora’s box of far-reaching and

otherwise inadmissible mediation materials, Plaintiffs must object.1

          If the Court intends to grant the County’s request, Plaintiffs propose that it should impose

four limitations on the relief sought.



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       Before the County filed its motion, Plaintiffs offered to review the specific information
the County sought to introduce to determine whether Plaintiffs would consent to its introduction.
The County failed to respond to that offer.

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         First, the Court should make clear that the County is not authorized to violate Federal

Rule of Evidence 408.

         Second, the Court should order that information exchanged during the Parties’ 2022

mediation with former Chief Justice Pleicones, particularly the portion dedicated to mediating

attorneys’ fees, is not admissible for any purpose. Plaintiffs made only generalized statements in

their motion about the process of pre-mediation exchanges, which contained Plaintiffs’

settlement offers protected by Fed. R. Evid. 408. And Plaintiffs made no reference in their

motion to the events of that in-person mediation.

         Third, the Court should instruct the County to confine its use of information arguably

covered by Local Civ. Rule 16.08 (D.S.C.) to generalized statements that are specifically

responsive and narrowly tailored to the assertions in Plaintiffs’ motion for attorneys’ fees, ECF

No. 350.

         Finally, the Court should order that Plaintiffs are authorized to respond to the County’s

evidence in their Reply with evidence of their own, subject to the same limitations described

above.

         DATED this 8th day of February, 2023.

                                               Respectfully submitted by,


                                               /s/ Allen Chaney
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